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 1
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 5
     Attorney(s) for Plaintiff Rothschild Broadcast Distribution Systems, LLC
 6

 7
                       IN THE UNITED STATES DISTRICT COURT
 8                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9

10
      ROTHSCHILD BROADCAST
      DISTRIBUTION SYSTEMS, LLC,
11                                                  CASE NO.: 4:21-cv-01848-HSG
                          Plaintiff,
12
      v.                                            PLAINTIFF’S NOTICE OF
13
                                                    VOLUNTARY DISMISSAL WITH
14    VIAAS, INC.,                                  PREJUDICE

15                        Defendant.
16

17            Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” or
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     “RBDS”) files this Notice of Voluntary Dismissal With Prejudice pursuant to Federal
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     Rule of Civil Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may
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21   be dismissed by the plaintiff without order of court by filing a notice of dismissal at
22
     any time before service by the adverse party of an answer. Accordingly, Plaintiff hereby
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     voluntarily dismisses this action against Defendant VIAAS, Inc. with prejudice,
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25   pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees and costs.
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 1
     Dated: September 14, 2021                Respectfully submitted,

 2                                            /s/ Stephen M. Lobbin
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 7
                                              Attorney(s) for Plaintiff Rothschild Broadcast
 8
                                              Distribution Systems, LLC
 9

10
                                 CERTIFICATE OF SERVICE
11
           I hereby certify that on September 14, 2021, I electronically filed the above
12
     document(s) with the Clerk of Court using CM/ECF which will send electronic
13
     notification of such filing(s) to all registered counsel.
14

15
                                              /s/ Stephen M. Lobbin
16
                                              Stephen Lobbin
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